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                     IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION


  IN RE:                                            CASE NO. 18-70065-AKM-7A

  ELIZABETH A. INGALLS                              CHAPTER 7

                                     Debtor(s)      JUDGE ANDREA K. MCCORD

                        RESPONSE TO MOTION TO SELL, doc.63
                    1145 BROOKSHIRE DRIV, EVANSVILLE, IN 47715

        Comes now, Specialized Loan Servicing LLC, (“Creditor”), by and through its

undersigned attorney of record and hereby responds to the Debtor's Motion to Sell, doc. 63.

        Creditor hereby states that they are in agreement with the sale of the property pursuant to

the terms of the short sale agreement attached to the Trustee's motion.

        WHEREFORE, Creditor requests that the sale be approved and their mortgage paid in

full.



                                                  Respectfully Submitted,

                                                    /s/ Martha R. Spaner

                                                  Martha R. Spaner
                                                  Attorney for Creditor
                                                  Reisenfeld & Associates LLC
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                                CERTIFICATE OF SERVICE
The undersigned hereby certifies that a copy of the foregoing has been served this July 19, 2019,
by regular U.S. Mail, postage prepaid, or by electronic e-file upon the following:

       Electronically Via ECF Mail:

       Yvette M LaPlante, Debtor's Counsel
       ylaplante@laplantellp.com

       Stacy M. Wissel, Bankruptcy Trustee
       tr_wissel_ecf@sbcglobal.net

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       ustpregion10.in.ecf@usdoj.gov

       Martha R. Spaner
       martha.spaner@rslegal.com


       Regular US Mail:

       Elizabeth A. Ingalls, Debtor
       5388 W. Esche Dr.
       Newburgh, IN 47630



                                                   /s/ Martha R. Spaner

                                                 Martha R. Spaner
